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     Attorney for Defendants
10   Byron Law, II
     David Salazar-Quintero
11
                               UNITED STATES DISTRICT COURT
12
                         SOUTHERN DISTRICT OF CALIFORNIA
13
                                  (HON. MARILYN HUFF)
14
15   UNITED STATES OF AMERICA,              )        CASE NO. 19-CR-2708-H
                                            )
16                Plaintiff,                )
                                            )        NOTICE OF MOTION
17                                          )        AND MOTION TO COMPEL
                         v.                 )        DISCOVERY, PRESERVE EVIDENCE
18                                          )        AND TO FILE FURTHER MOTIONS
     BYRON LAW, II                          )
19   DAVID SALAZAR-QUINERO,                 )
                                            )
20                Defendants.               )
                                            )
21
22         TO:    ROBERT S. BREWER, JR., UNITED STATES ATTORNEY AND TO
23                MARIETTA GECKOS, ASSISTANT UNITED STATES ATTORNEY:
24         PLEASE TAKE NOTICE that on 5 August 2019 at 9:00 a.m., or as soon thereafter
25   as counsel may be heard, the defendants, Byron Law, II and David Salazar-Quintero,
26   will present the below-listed motions in the above-entitled case.
27                                              I.
                                 STATEMENT OF THE CASE
28
            Defendants Byron Law, II and David Salazar-Quintero are charged by
                                                1
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 1   Information with Transportation of Aliens for Financial Gain and Aiding and
 2   Abetting.
 3                                       II.
                                   SUMMARY OF FACTS
 4
           On or about 3 July 2019, Byron Law, II and David Salazar-Quintero were
 5
     stopped on interstate 8, approximately 20 miles east of the Tecate Port of Entry.
 6
     At the time of the stop, three back-seat passengers were determined to be citizens
 7
     of Mexico, without legal right to be in the United States.
 8
                                      III.
 9                         MOTION TO COMPEL DISCOVERY
10         The government must disclose the information requested in this motion for
11   discovery under the obligations of Federal Rule of Criminal Procedure 16 and
12   Brady v. Maryland, 373 U.S. 83 , 83 S. Ct. 1194, 10 L. Ed. 2d 215 (1963).
13   Moreover, a defendant's entitlement to due process of law, guaranteed by the Fifth
14   Amendment to the United States Constitution, as well as their Sixth Amendment
15   right to effective assistance counsel, impose additional requirements on the Court
16   and prosecution to ensure the production of fair discovery.
17         All of the requests are for items within the possession, custody, or control of
18   either state or the federal government. This, of course, includes attorneys for the
19   government, agents of the Federal Bureau of Investigation, the U.S. Customs, the
20   Immigration and Naturalization Service and in this case, other government agents,
21   officials, employees, or informants participating in the investigation or prosecution
22   of the matters involved in this case whether under state or federal authority. It has
23   been held repeatedly that the government's discovery obligations extend to
24   materials in the possession, custody or control of all its agencies and agents. See,
25   e.g. United States v. Beasley, 576 F.2d 625, 632 (5th Cir. 1978); United States v.
26   Bryant, 439 F.2d 642, 650 (D.C. Cir. 1971); United States v. James, 495 F.2d 434,
27   436 (5th Cir. 1974); United States v. Deutsch, 475 F.2d 55, 57 (5th Cir. 1973).
28   This request is not limited to those items that the prosecutor knows of, but rather

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 1   includes all discovery listed below that is in the custody, control, care, or
 2   knowledge of any "closely related investigative [or other] agencies" under United
 3   States v. Bryan, 868 F.2d 1032 (9th Cir.), cert. denied, 493 U.S. 858 (1989):
 4         This proposition was further reiterated in the United States Supreme Court
 5   case of Kyles v. Whitley, 514 U.S. 419, 115 S.Ct. 1555, 131 L. Ed. 2d 490 (1995)
 6   in which the court stated:
 7                   [T]he prosecution, which alone can know what is
                     undisclosed, must be assigned the consequent
 8                   responsibility to gauge the likely net effect of all
                     such evidence and make disclosure when the point
 9                   of "reasonable probability" is reached. This in turn
                     means that the individual prosecutor has a duty to
10                   learn of any favorable evidence known to the others
                     acting on the government's behalf in the case,
11                   including the police. But whether the prosecutor
                     succeeds or fails in meeting this obligation
12                   (whether, that is, a failure to disclose is in good faith
                     or bad faith, see Brady, 373 U.S. at 87), the
13                   prosecution's responsibility for failing to disclose
                     known, favorable evidence rising to a material level
14                   of importance is inescapable.”
     Id. 115 S.Ct. at 1567.
15
           (1) The Defendants’ Statements Under Fed. R. Crim. P. 16 (a)(1)(A) the
16
     defendants are entitled to disclosure of all copies of any written or recorded
17
     statements made by the defendants; the substance of any statements made by the
18
     defendants which the government intends to offer in evidence at trial; any recorded
19
     testimony of the defendants before the grand jury; any response by the defendants
20
     to interrogation; the substance of any oral statements which the government
21
     intends to introduce at trial, and any written summaries of the defendants’ oral
22
     statements contained in the handwritten notes of the government agent; any
23
     response to any Miranda warnings which may have been given to the defendants
24
     (see United States v. McElroy, 697 F.2d 459 (2d Cir. 1982)); and any other
25
     statements by the defendants that are discoverable under Fed. R. Crim. P.
26
     16(a)(1)(A). The Advisory Committee Notes as well as the 1991 amendments to
27
     Rule 16 make it clear that the Government must reveal all the defendants’
28
     statements, whether oral or written regardless of whether the Government intends
                                                 3
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 1   to introduce those statements;
 2         (2) Arrest Reports, Notes and Dispatch Tapes The defendants also
 3   specifically requests that all arrest reports, notes and dispatch or any other tapes
 4   that relate to the circumstances surrounding their arrest or any questioning, if such
 5   reports have not already been produced in their entirety, be turned over to him.
 6   This request includes, but is not limited to, any rough notes, records, reports,
 7   transcripts or other documents in which statements of the defendants or any other
 8   discoverable material is contained. This is all discoverable under Fed. R. Crim. P.
 9   16(a)(1)(A) and Brady v. Maryland, 373 U.S. 83 (1963). See also United States v.
10   Johnson, 525 F.2d 999 (2d Cir. 1975), cert. denied, 424 U.S. 920 (1976); United
11   States v. Lewis, 511 F.2d 798 (D.C. Cir. 1975); United States v. Pilnick, 267 F.
12   Supp. 791 (S.D.N.Y. 1967); Loux v. United States, 389 F.2d 911 (9th Cir.), cert.
13   denied, 393 U.S. 867 (1968). Arrest reports, investigator's notes, memos from
14   arresting officers, dispatch tapes, sworn statements, and prosecution reports
15   pertaining to the defendants are available under Fed. R. Crim. P. 16(a)(1)(B) and
16   ©, Fed. R. Crim. P. 26.2 and 12(I);
17         (3) Reports of Scientific Tests or Examinations Pursuant to Fed. R. Crim. P.
18   16(D), defendants request the reports of all tests and examinations conducted upon
19   any evidence in this case; this request includes the raw image file from any seized
20   phone (full forensic file with extraction and image file) and all cell phone records;
21         (4) Brady Material The defendants requests all documents, statements,
22   agents' reports, and tangible evidence favorable to the defendants on the issue of
23   guilt and/or which affects the credibility of the government's case. Impeachment
24   as well as exculpatory evidence falls within Brady's definition of evidence
25   favorable to the accused. United States v. Bagley, 473 U.S. 667 (1985); United
26   States v. Agurs, 427 U.S. 97 (1976);
27         (5) Any Information that May Result in a Lower Sentence under the United
28   States Sentencing Guidelines (U.S.S.G.) As discussed above, this information is

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 1   discoverable under Brady v. Maryland, 373 U.S. 83 (1963). This request includes
 2   any cooperation or attempted cooperation by the defendants, as well as any
 3   information that could affect any base offense level or specific offense
 4   characteristic under Chapter Two of the U.S.S.G. Also included in this request is
 5   any information relevant to a Chapter Three adjustment, a determination of the
 6   defendants’ criminal history, or any other application of the U.S.S.G.;
 7         (6) The Defendants’ Prior Record Evidence of prior record is available
 8   under Fed. R. Crim. P. 16(a)(1)(B); This information is specifically requested, as
 9   is a complete “rap sheet” or criminal history summary.
10         (7) Any Proposed 404(b) Evidence. Evidence of prior similar acts is
11   discoverable under Fed. R. Crim. P. 16(a)(1)© and Fed. R. Evid. 404(b) and 609.
12   In addition, under Fed. R. Evid. 404(b), "upon request of the accused, the
13   prosecution . . . shall provide reasonable notice in advance of trial . . . of the
14   general nature . . ." of any evidence the government proposes to introduce under
15   Fed. R. Evid. 404(b) at trial. The defendants request that such notice be given
16   three weeks before trial in order to give the defense time to adequately investigate
17   and prepare for trial;
18         (8) Evidence Seized Evidence seized as a result of any search, either
19   warrantless or with a warrant, is discoverable under Fed. R. Crim. P. 16(a)(1)©;
20         (9) Request for Preservation of Evidence The defendants specifically
21   requests that all dispatch tapes or any other physical evidence that may be
22   destroyed, lost, or otherwise put out of the possession, custody, or care of the
23   government and which relate to the arrest or the events leading to the arrest in this
24   case be preserved;
25         (10) Tangible Objects The defendants request, under Fed. R. Crim. P.
26   16(a)(2)©, the opportunity to inspect and copy as well as test, if necessary, all
27   other documents and tangible objects, including photographs, books, papers,
28   documents, photographs of building or places, or copies of portions thereof which

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 1   are material to the defense or intended for use in the government's case-in-chief, or
 2   were obtained from or belong to the defendants.
 3         (11) Evidence of Bias or Motive to Lie The defendants request any evidence
 4   that any prospective government witness, including Confidential Informants, is
 5   biased or prejudiced against the defendants, or has a motive to falsify or distort his
 6   or her testimony. Pennsylvania v. Ritchie, 480 U.S. 39 (1987); United States v.
 7   Strifler, 851 F.2d 1197 (9th Cir. 1988), cert. denied, 489 U.S. 1032 (1989);
 8         (12) Impeachment Evidence The defendants requests any evidence that any
 9   prospective government witness has engaged in any criminal act, whether or not
10   resulting in a conviction, and whether any witness has made a statement favorable
11   to the. See Fed. Brady v. Maryland R. Evid. 608, 609 and 613. Such evidence is
12   discoverable under, 373 U.S. 83 (1963). See United States v. Strifler, 851 F.2d
13   1197 (9th Cir. 1988) (witness' prior record); Thomas v. United States, 343 F.2d 49
14   (9th Cir. 1965) (evidence that detracts from a witness' credibility);
15         (13) Evidence of Criminal Investigation of Any Government Witness The
16   defendants requests any evidence that any prospective witness is under
17   investigation by federal, state or local authorities for any criminal conduct. United
18   States v. Chitty, 760 F.2d 425 (2d Cir.), cert. denied, 474 U.S. 945 (1985);
19         (14) Evidence Affecting Perception, Recollection, Ability to Communicate,
20   or Truth Telling The defense requests any evidence, including any medical or
21   psychiatric report or evaluation, tending to show that any prospective witness'
22   ability to perceive, remember, communicate, or tell the truth is impaired; and any
23   evidence that a witness has ever used narcotics or other controlled substance, or
24   has ever been an alcoholic. United States v. Strifler, 851 F.2d 1197 (9th Cir.
25   1988); Chavis v. North Carolina, 637 F.2d 213, 224 (4th Cir. 1980);
26         (15) Witness Addresses The defendants request the name and last known
27   address of each prospective government witness. See United States v. Napue, 834
28   F.2d 1311 (7th Cir. 1987); United States v. Tucker, 716 F.2d 576 (9th Cir. 1983)

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 1   (failure to interview government witnesses by counsel is ineffective); United States
 2   v. Cook, 608 F.2d 1175, 1181 (9th Cir. 1979) (defense has equal right to talk to
 3   witnesses), cert. denied, 444 U.S. 1034 (1980). The defendants also requests the
 4   name and last known address of every witness to the crime or crimes charged (or
 5   any of the overt acts committed in furtherance thereof) who will not be called as a
 6   government witness. United States v. Cadet, 727 F.2d 1453 (9th Cir. 1984);
 7         (16) Name of Witnesses Favorable to the Defendants The defendants
 8   request the name of any witness who made an arguably favorable statement
 9   concerning the defendantss or who could not identify them or who was unsure of
10   their identity, or participation in the crime charged. Jackson v. Wainwright, 390
11   F.2d 288 (5th Cir. 1968); Chavis v. North Carolina, 637 F.2d 213, 223 (4th Cir.
12   1980); Jones v. Jago, 575 F.2d 1164, 1168 (6th Cir.), cert. denied, 439 U.S. 883
13   (1978); Hudson v. Blackburn, 601 F.2d 785 (5th Cir. 1979), cert. denied, 444 U.S.
14   1086 (1980);
15         (17) Statements Relevant to the Defense The defendants request disclosure
16   of any statement that may be "relevant to any possible defense or contention" that
17   he might assert. United States v. Bailleaux, 685 F.2d 1105 (9th Cir. 1982);
18         (18) Jencks Act Material The defense requests all material to which
19   defendants are entitled pursuant to the Jencks Act, 18 U.S.C. § 3500, reasonably in
20   advance of trial, including dispatch tapes. A verbal acknowledgment that "rough"
21   notes constitute an accurate account of the witness' interview is sufficient for the
22   report or notes to qualify as a statement under §3500(e)(1). Campbell v. United
23   States, 373 U.S. 487, 490-92 (1963). In United States v. Boshell, 952 F.2d 1101
24   (9th Cir. 1991), the Ninth Circuit held that when an agent goes over interview
25   notes with the subject of the interview the notes are then subject to the Jencks Act.
26   The defense requests pre-trial production of Jencks material to expedite cross-
27   examination and to avoid lengthy recesses during trial;
28         (19) Giglio Information Pursuant to Giglio v. United States, 405 U.S. 150

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 1   (1972), the defendant requests all statements and/or promises, express or implied,
 2   made to any government witnesses, in exchange for their testimony in this case,
 3   and all other information which could arguably be used for the impeachment of
 4   any government witnesses;
 5         (20) Personnel Records of Government Officers Involved in the Arrest The
 6   defendants request all citizen complaints and other related internal affairs
 7   documents involving any of the Federal Bureau of Investigation officers, or other
 8   law enforcement officers who were involved in the investigation, arrest and
 9   interrogation of him, pursuant to Pitchess v. Superior Court, 11 Cal. 3d 531, 539
10   (1974). Because of the sensitive nature of these documents, defense counsel will
11   not be able to procure them from any other source;
12         (21) Government Examination of Law Enforcement Personnel Files
13   Defendants request that the government examine the personnel files and any other
14   files within its custody, care or control, or which could be obtained by the
15   government, for all testifying witnesses, including testifying officers. Defendants
16   request that these files be reviewed by the government attorney for evidence of
17   perjurious conduct or other like dishonesty, or any other material relevant to
18   impeachment, or any information that is exculpatory, pursuant to its duty under
19   United States v. Henthorn, 931 F.2d 29 (9th Cir. 1991). The obligation to examine
20   files arises by virtue of the defense making a demand for their review: the Ninth
21   Circuit in Henthorn remanded for in camera review of the agents' files because the
22   government failed to examine the files of agents who testified at trial. This Court
23   should therefore order the government to review all such files for all testifying
24   witnesses and turn over any material relevant to impeachment or that is exculpatory
25   prior to trial. Defendants specifically request that the prosecutor, not the law
26   enforcement officers, review the files in this case. The duty to review the files,
27   under Henthorn, should be the prosecutor's and not the officers'. Only the
28   prosecutor has the legal knowledge and ethical obligations to fully comply with this

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 1   request.
 2         (22) Any and All Photographs Shown to Any Witness
 3         (23) Residual Request. Defendants intend by this discovery motion to
 4   invoke their right to discovery to the fullest extent possible under the Federal Rules
 5   of Criminal Procedure and the Constitution and laws of the United States. He
 6   requests that the government provide their attorneys with the above material
 7   sufficiently in advance of trial.
 8                                          IV.
 9                                  PRESERVE EVIDENCE
10         Consistent with Federal Rule of Criminal Procedure 16, and the case law
11   cited above in support of defendants’ motion for discovery, Byron Law, II and
12   David Salazar-Quintero request that the Court issue an order preserving the
13   evidence in this case..
14                               V.
        THE COURT SHOULD GRANT LEAVE TO FILE FURTHER MOTIONS.
15
           Byron Law, II and David Salazar-Quintero ask leave to file further motions in
16
     the event further discovery received or reviewed gives rise to the need for further
17
     motions and proceedings.
18
                                            VI.
19                                       CONCLUSION
20        For the foregoing reasons, defendants request that this motion for discovery,
21   preservation of evidence and motion for leave for further filings be granted.
22
     DATED: 1 August 2019                   /s/Nancee S. Schwartz
23                                          Attorney for Byron Law, II
                                            Nanceesschwartz@gmail.com
24
                                            /s/Mark Adams
25                                          Attorney for David Salazer-Quintano
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